          Case 21-12977-mdc
               20-10300-amc     Doc 51-1
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                                    Proposed Order Page 1 of 1
                               UNITED STATES BANKRUTPCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       WILLIAM D. SCOTT
       GAIL R. SCOTT


                              Debtor                Bankruptcy No. 20-10300-AMC



                                                    ORDER

      AND NOW, this ____________ day of ___________________, 202_, upon consideration of the Motion
to Dismiss Case filed by Kenneth E. West, Standing Trustee, and after notice and hearing, it is hereby
ORDERED that this case is DISMISSED and that any wage orders previously entered are VACATED.

      IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee from
 payments made on account of the Debtor’s plan shall be refunded to the Debtor unless a party in interest files a
 Motion for Alternative Disbursement within 21 days of the entry of this Order.



                                                           ______________________________
                                                           Honorable Ashely M. Chan
                                                           <chief-judge> Bankruptcy Judge

Kenneth E. West, Trustee
P.O. Box 40837
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